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                            UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



  UNITED STATES OF AMERICA,                          No. 3:12-cv-02265-SI

                         Plaintiff,
                                                     STATUS REPORT
      v.

  CITY OF PORTLAND,

                         Defendant.




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         Plaintiff United States of America submits this Status Report to the Court in preparation

for the May 15, 2024 Hearing on the Joint Motion to Appoint the Independent Court Monitor and
Interim Status Conference. Our submission in favor of appointing the Monitor was filed on April

15, 2024. ECF 412. In this report we address: (A) the City’s implementation of Body Worn

Cameras (BWC) for the Portland Police Bureau (PPB), as required by Paragraph 194 of the

Amended Settlement Agreement (Agreement), ECF 408-1; (B) mediation conducted pursuant to

Paragraph 252 of the Agreement, which covered access to BWC recordings and Portland Street

Response (PSR); and (C) our other recent monitoring activity.

         A.      BWCs
         Since the Parties jointly submitted a status report to the Court concerning implementation

of the BWC remedy (ECF 368), the United States has approved PPB’s revised BWC policy and

have continued to track implementation of PPB’s BWC program. Specifically, we reviewed

lesson plans and observed training for the pilot program participants. We requested and received

from the City monthly reports on the installation of BWC charging stations and hardware in PPB

vehicles. This fall, we anticipate that PPB’s in-service training for all officers will include

training on both the revised BWC policy and the BWC hands-on use.

         B.      Mediation Pursuant to Paragraph 252
         When the Parties agreed to amend the Agreement to provide for a Monitor and a process

for partial termination, we could not resolve two disputes over the meaning of the Agreement

and instead provided for a 60-day mediation of those issues. The Parties met in mediation on

January 10 and January 17, 2024, before U.S. Magistrate Judge Stacie Beckerman. Mediation

included Intervenor-Defendant Portland Police Association (PPA), Enhanced Amicus Curiae

Albina Ministerial Alliance Coalition for Justice and Police Reform (AMAC), and Amicus

Curiae the Mental Health Alliance (MHA).

                 1.     Paragraph 115 and PSR
         As the United States described in our Seventh Compliance Assessment Report (ECF 369

at 6-7; ECF 369-1 at 28-30, 36, 39, 41, 47-50), the City’s creation of PSR added a new first

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responder option to its system of crisis triage. PSR, which is part of Portland Fire & Rescue, is a
group of non-police first responders, including qualified mental health professionals, who assist

people experiencing mental health and behavioral health crises, with teams that may be directly

dispatched to calls meeting certain criteria. We considered PSR in assessing the City’s compliance

with several obligations under the Agreement, including Paragraph 115’s requirement to fully

implement crisis triage. The City disagreed with our approach as to Paragraph 115 and the

Parties mediated this issue. The Parties did not reach an agreed resolution. Paragraph 252(a)’s

60-day period for mediating this issue has passed. From the United States’ perspective,

assessing implementation of PSR-related policies remains an appropriate means of assessing

compliance with Paragraph 115. Additionally, the Portland Committee of Community Engaged

Policing (PCCEP) recently concluded that, “Securing PSR’s future is vital to the goals of the

Settlement Agreement,” and recommended both that the City secure a future funding for PSR

and that the Monitor assess “success metrics of PSR when evaluating compliance with the

Settlement Agreement.” “PCCEP Recommendation to Fund, Stabilize, and Expand Portland

Street Response,” (April 22, 2024), https://perma.cc/BP4J-WCX4. The City previously has
committed to responding to PCCEP recommendations within 60 days. ECF 408-1 at 99 (PCCEP

Plan, Sec. VII). We await that response.

         The Monitor will develop an independent methodology to assess Paragraph 115.

Whether the Monitor will also assess implementation of PSR-related policies will depend on the

Monitoring Plan, which will be subject to the Parties’ review and, if necessary, mediation. ECF

408-1, Para. 217.

                2.     Paragraphs 240 and 241 and BWC Recordings
         Pursuant to Paragraph 252(b), we also mediated whether the Monitor and the United

States should receive direct access to BWC recordings and data through evidence.com. The

Parties began mediation on this issue and agreed to pause further mediation until the Monitoring

Team is in place and can lend its insight about the nature and degree of access it needs to

discharge its monitoring obligations under the Agreement.

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         C.      Monitoring
         Since our last Compliance Assessment Report, the United States has continued to

monitor implementation of the Settlement Agreement. This ongoing monitoring includes:

attending PCCEP meetings; providing feedback on Agreement-related lesson plans; observing

and providing feedback on training; reviewing policy changes; assessing Police Review Boards;

ride alongs; and frequent meetings with the City to address issues as they arise. For example,

last week, the City provided the United States with a revised draft of changes to City Code to

implement a Community Police Oversight Board as required by Paragraph 195. The United

States is currently reviewing this revised draft. The Parties must then agree on “corresponding

amendments to this Agreement,” which will be subject to this Court’s approval. ECF 408-1,

Para. 195(b).
                                          *      *      *
         We will provide additional updates and answer the Court’s questions at the status

conference on May 15, 2024.

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